
PER CURIAM.
Having concluded, after full briefing, that the nonfinal order under review effectively is an order briefly staying the underlying action and not, as argued by Appellant, one granting injunctive relief, we dismiss this appeal for lack of jurisdiction. See Dep't of Child. &amp; Fams. v. L.D. , 840 So.2d 432, 434 (Fla. 5th DCA 2003) (recognizing that an order staying a proceeding is not an appealable nonfinal order (citing *1143Perry v. Fireman's Fund Ins. Co. , 379 So.2d 429, 429 (Fla. 2d DCA 1980) ) ). We also decline to sua sponte grant certiorari relief.
Appeal dismissed without prejudice to either party addressing the merits of the order in a final appeal.
DISMISSED.
EVANDER, C.J., LAMBERT and EISNAUGLE, JJ., concur.
